Case: 4:18-cr-00975-ERW Doc. #: 573 Filed: 11/17/21 Page: 1 of 5 PageID #: 6062




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 UNITED STATES OF AMERICA,                       )
                                                 )
      Plaintiff,                                 )
                                                 )     No. S1 - 4:18 CR 975 ERW
 v.                                              )
                                                 )
 DUSTIN BOONE,                                   )
                                                 )
      Defendant.                                 )


                      GOVERNMENT’S RESPONSE TO DEFENDANT
                        BOONE’S SENTENCING MEMORANDUM

         COMES NOW the United States of America, by and through Sayler Fleming, United States

Attorney for the Eastern District of Missouri, and Carrie Costantin and Robert F. Livergood,

Assistant United States Attorneys for said District, and files its Response to Defendant Boone’s

Sentencing Memorandum.

         On June 17, 2021, defendant was found guilty by the jury of Aiding and Abetting the

Deprivation of Rights Under Color of Law.         The Presentence Investigation Report (PSR)

calculated an advisory guideline range of 120 months imprisonment. Defendant requests a

downward variance from the guideline sentence to 26 months in prison. The Government requests

that defendant be sentenced to the guideline sentence of 120 months.

         In his sentencing memorandum, defendant blames everyone else for the assault of

Detective Luther Hall. He takes minimal responsibility for his actions.

         Defendant first blames Detective Hall for not leaving in response to dispersal orders.

Defendant claims that there was a crowd at 14th and Olive engaged with the police when Detective

Hall was assaulted. The Court has viewed the RTCC video which disproves that contention. There
Case: 4:18-cr-00975-ERW Doc. #: 573 Filed: 11/17/21 Page: 2 of 5 PageID #: 6063




were a few citizens at the corner and dozens of police officers. The civilians were leaving the area

in response to dispersal orders. Defendant correctly states that Detective Hall’s cell phone video

recorded a dispersal order given at 8:50:50. The video shows that Detective Hall and others were

at Locust and 13th Street when the order was heard. They immediately ran away; that is, they

dispersed. Detective Hall then made his way around the library—away from the first dispersal

order—and was walking down the library steps intending to cross Olive and walk toward his

vehicle at Police Headquarters. As he walked down the steps, a second dispersal order and non-

lethal munitions order was heard at 8:53:45. Detective Hall proceeded west on Olive—away from

the dispersal order—when he was assaulted starting at 8:53:51, a mere six seconds later. There

was no basis to arrest Detective Hall and, more importantly, there was absolutely no justification

for assaulting him. Defendant assisted in that assault, by kneeling on Detective Hall’s back and

holding his head down while he was being struck all over his body.

       Next, defendant blames the St. Louis Metropolitan Police Department for condoning and

encouraging excessive force. He states that “unnecessary violence appears to be an ugly but

widespread feature” and that defendant’s texts glorifying assaulting citizens are “a product of that

assimilation.” This assertion slanders the 1300 police officers who responsibly serve the St. Louis

community. As outlined in the Government’s Sentencing Memorandum, defendant boasted in

texts about four other assaults that he committed:

       1) April 19, 2017 - “Caught him in some THICK over grow in a side vacant lot, there was

           nobody around except me. [Officer] Shaw, shithead and god…he is at the hospital

           now…poor guy.” “Hahaha we made him tell the other officers on scene that he is a

           pussy! Hahaha he was puking on himself while EMS was looking at him and saying




                                                 2
Case: 4:18-cr-00975-ERW Doc. #: 573 Filed: 11/17/21 Page: 3 of 5 PageID #: 6064




           ‘I’m a pussy, in [sic] a pussy.’ And crying…… it was the greatest moment of my short

           career! Lol.” Gov. Ex. 472.

       2) October 12, 2017 - “I’ve open hand slapped him one time down there when [Officer]

           santa and I were doing shit with MR [Mobile Reserve unit]. he is an ignorant mother

           fucker! We didn’t arrest him but he got his eyes widened a little with a slap from a

           white boy. Lol.” Gov. Ex. 487.

       3) November 7, 2017 - “Yep. Mother fuckers. Dude got caught in a dead end gangway

           tho…He was crying and bloody for making me run that far…” Gov. Ex. 474.

       4) March 28, 2018 – “We didn’t take him to children’s [Hospital] for nothin! Lol. There

           r so many damn RTCC [Real Time Crime Center] cameras in the fifth now, I had to

           literally drag him behind a privacy fence to avoid one. Can’t believe how inconvenient

           they have made things.” Gov. Ex. 490.

       Defendant’s participation in the assault of Detective Hall was not an anomaly in his time

as a police officer; it was consistent with his abusive behavior before and after the assault.

       Defendant presented letters from his parents and sister stating that defendant’s texts, while

“vile” and “upsetting,” do not reflect the “real Dustin.” The sad truth is that many of defendant’s

abusive and racist texts were sent to his family members and they shared his sentiments. Gov. Ex.

248, 253, 268, 471. His father Anthony Boone sent a text to his family group chat on the day of

the Stockley verdict that stated “The zoo keepers cut off the supply of bananas and they are

PISSED.” Two days later, Anthony Boone texted the family group chat group stating “I’m sure

the primate house will be the first to get broken into—free all their cousins and shit.” On

September 22, 2017, his mother Melissa Boone sent a text to the family group chat that stated

“Holy fuck, I hate niglets.” On October 24, 2017, when defendant sent the family group chat a



                                                  3
Case: 4:18-cr-00975-ERW Doc. #: 573 Filed: 11/17/21 Page: 4 of 5 PageID #: 6065




photograph of a seized purse with money inside, Melissa Boone texted “that’s what you call a

nigga wad.” On September 30, 2017, defendant’s sister Kayla sent a text to the family group chat

referring to the protests: “idk they were yelling and singing songs and banging drums like they

were back in Africa doing a rain dance.” The family’s contention that the texts do not reflect the

“real” defendant are contradicted by their own offensive texts.

       Defendant is criminally responsible for aiding and abetting the assault of Detective Hall.

While co-defendant Hays struck Detective Hall, defendant held Detective Hall down during the

assault. Defendant argues that his sentence should be lower than co-defendant Hays. However,

defendant does not accept responsibility for his actions; Hays did so when he pled guilty.

Defendant did not cooperate in the investigation; Hays did so and testified against other police

officers. Defendant’s texts reveal his involvement in four other beatings; no such evidence exists

regarding Hays.

        Defendant’s participation in the assault of Detective Hall was not out of character for him.

He assaulted suspects both before and after the beating of Detective Hall. When the Stockley

verdict was announced, defendant celebrated the “fun beating the hell out of these shitheads once

the sun goes down and nobody can tell us apart!!!!” He FaceTimed the assault to his then-

girlfriend and only concluded that it was “not entertaining at all at this point” when he learned the

victim was a police officer. Even after that, defendant enjoyed “beating the shit out of everyone

on the street.” Defendant must be held responsible for his criminal conduct.

       For the foregoing reasons, the Government respectfully requests that the Court sentence

defendant to the guideline sentence of 120 months.




                                                 4
Case: 4:18-cr-00975-ERW Doc. #: 573 Filed: 11/17/21 Page: 5 of 5 PageID #: 6066




                                              Respectfully submitted,

                                              SAYLER A. FLEMING
                                              United States Attorney

                                              s/Carrie Costantin
                                              Carrie Costantin, #35925 MO
                                              Robert F. Livergood, #35432MO
                                              Assistant United States Attorneys
                                              111 South 10th Street, Room 20.333
                                              St. Louis, Missouri 63102
                                              (314) 539-2200


                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 17, 2021, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court=s electronic filing system upon all counsel
of record.

                                                      /s/ Carrie Costantin
                                                      CARRIE COSTANTIN #35925 MO
                                                      Assistant United States Attorney




                                                 5
